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           EXHIBIT I
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     From: Allieoni Snyder                                >
     Sent: Wednesday, March 22, 2023 9:20 AM


                    tt
     To: EDG-LIB-LibraryAdmin                                 >; Sco Love <              >
     Cc: beth                      ; lacystephensberry
     Subject: Re: Disrup ve behavior during our library event

     Hello Diana and Scott,

     You have had two full business days, but I have yet to receive even an acknowledgement of my email below.
ti
     I will give you until the end of the day to reply before I escalate my complaint.
           tt
     The public pays your salaries and we the public are paying attention to your behavior. Scott, I saw you
     speaking with Anoosh at the library yesterday. I hope you took the opportunity to caution her for her
     unacceptable behavior during our event and that you made it clear such disruptive actions will not be
     tolerated moving forward.

     The time is fast approaching when all those who promote Gender Ideology will have to contend with the
     knowledge it has led to the sterilization and permanent mutilation of children, many of whom are autistic,
     have suffered some sort of severe trauma, or would simply have grown up to be healthy and happy
     homosexuals. The lawsuits are piling up. In the meantime, we will remember the individuals who demonized
     those of us trying to sound the alarm.

     I urge you for your own sakes, educate yourselves before you end up like me, unable to forgive myself for
     "affirming" my loved one down a path of irreversible physical harm.

     I await your reply.


     Sincerely,

     Allie Snyder

     From: Allieoni Snyder <                               >
     Sent: Monday, March 20, 2023 9:16 AM
     To: LibraryAdmin                  <                              >; Scott.Love    <Sco .Love              >
     Cc: beth                                                   >; lacystephensberry
     >
     Subject: Disruptive behavior during our library event

     Hello Diana and Scott,

     My name is Allie Snyder and I was one of the event coordinators for the documentary film screening of
     "Affirmation Generation" this past Friday, March 17th. I am emailing to inform you of the very disturbing
     conduct displayed by Anoosh Jorjorian, director of The Davis Phoenix Coalition's Queer Teen Group, during
     our event. Our library routinely sponsors events hosted by her organization, so it is imperative you are aware
     of her extremely disrespectful behavior and her explicit attempt to disrupt and impede our event, as well as
     intimidate event attendees.

     When Ms. Jorjorian and several of her fellow protestors came into the meeting room we welcomed them and
     set out additional seating which they declined. Ms. Jorjorian proceeded to stand and set up her protest signs
     at the front of the room, next to the screen. Joey Brite (special guest speaker and Executive Producer of the
     film) and I asked Ms. Jorjorian to either take her protest outside, or move to the back of the room, but she
     repeatedly stated, "this was a public space". We let her know she had no right to disrupt our event, but she
     refused to move. Because there was no staff present, and no clearly posted policy against event disruption,
     we decided to disengage and proceed with the film.
     You can witness our interaction here:                                                   Exhibit I, Page 2
https://photos.app.goo.gl/sYq3wcGUXPmMBdyE6
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                                            New video
                                            by Allie
                                            Snyder
                                            photos.app.goo.gl


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Her behavior over the subsequent hour was some of the most shameful, and frankly unhinged, I've seen
from a Davis community leader. Ms. Jorjorian stood next to the screen shaking her head, gesturing, making
comments, laughing dismissively, and writing and waving signs such as "Trasphobia = Hate", "Transphobia is
NOT Welcome in Davis!", "Facts over Propaganda - Trans is Natural!", and "Fact-Free Fear-Mongering
Propaganda". Alternately she appeared to make a show of ignoring the film, turning her back to the screen
while being engrossed on her phone, even during the testimonies of detransitioners explaining their
heartbreaking injuries and health complications. Her complete lack of empathy for those brave and
grievously wounded individuals is absolutely staggering. As she was leaving before the film ended, she bent
down over me while I was seated, got approximately 6" away from my face and angrily stated "I hope you're
proud of yourself, Allie!" before exiting. I ignored her, but her physical intimidation of me was shocking.

Does our library condone and support this behavior from someone whose events it regularly sponsors?
Would this disruptive behavior be tolerated at an event hosted by the Davis Phoenix Coalition?
Please see the videos and images below:

https://photos.app.goo.gl/3qvn3YBQ2rT6XZjd8


                                            New video
                                            by Allie
                                            Snyder
                                            photos.app.goo.gl


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https://photos.app.goo.gl/7dEuNKf6L8LmmVge9



                                            New video
                                            by Allie
                                            Snyder
                                            photos.app.goo.gl


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                                                                                    Exhibit I, Page 3
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                                              New video
                                              by Allie
                                              Snyder
                                              photos.app.goo.gl


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https://photos.app.goo.gl/XLJxkDmagWsMHMVK6


                                              New video
                                              by Allie
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                                              photos.app.goo.gl


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https://photos.app.goo.gl/qi1fHJbwiGfWkQZ46


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https://photos.app.goo.gl/pHxNyZo7ZbME1yef7


                                              New video
                                              by Allie
                                              Snyder
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https://photos.app.goo.gl/bQrucgoB58cnjxFi6




                                                                    Exhibit I, Page 4
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                         New video
                         by Allie
                         Snyder
                         photos.app.goo.gl




                                                         Exhibit I, Page 5
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                                                         Exhibit I, Page 6
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The following is from the American Library Association's page. We respectfully request that the Yolo County
Library, Mary L. Stephens branch, consider these guidelines and how best to communicate them moving
forward. It is clear Ms. Jorjorian felt entitled to disrupt our event, maybe not realizing it is a violation of our
right to host this event free from intimidation and interference within the meeting room. Having clearly
posted signage to reference in the room would be incredibly helpful for future community events, regardless
of which organization is hosting them.

Responding to and Preparing for Controversial Programs and Speakers Q&A | Advocacy, Legislation & Issues
(ala.org)


    Responding to and Preparing for Controversial
    Programs and Speakers Q&A
    This Q&A offers strategies and resources for preparing your library
    to approach community concerns as well as reaction to potentially
    controversial programs, events, and speakers. Libraries are
    encouraged to look to their own institution’s policies regarding
    behavior, programming, and collection development, and to
          l ihl      l       li h             f h     i
    www.ala.org

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"What if an outside group wants to use a library meeting room to host an event, speaker, or program?

Article VI of the Library Bill of Rights states, "Libraries which make exhibit spaces and meeting rooms available to the public they
serve should make such facilities available on an equitable basis, regardless of the beliefs or affiliations of individuals or groups
requesting their use." Libraries may not exclude groups from using meeting rooms based on the viewpoint of the speakers or the
content and subject matter that will be discussed.

Libraries with meeting rooms should develop policies that clearly outline expectations and guidelines for use. See "Meeting Rooms:
An Interpretation of the Library Bill of Rights" for further guidance."

"Meeting Rooms: An Interpretation of the Library Bill of Rights"

Many libraries provide meeting rooms and other spaces designated for use by the public for meetings and other events as a
service to their communities. Article VI of the Library Bill of Rights states, “Libraries which make ... meeting rooms available to the
                                                                                                           Exhibit I, Page 7
public they serve
              Caseshould make such facilities available on an
                      2:23-cv-02802-WBS-CKD                   equitable basis,
                                                            Document       1-9regardless of the beliefs or
                                                                                  Filed 12/04/23           affiliations
                                                                                                        Page      9 of of
                                                                                                                        9 individuals or
groups requesting their use.” Libraries do not advocate for or endorse the viewpoints expressed in meetings by meeting room
users, just as they do not endorse the viewpoints of works in their collections. The presence and activities of some groups in public
spaces, while constitutionally protected, can cause fear and discomfort in some library users and staff. Libraries should adopt and
enforce user behavior policies that protect library users and staff from harassment while maintaining their historic support for the
freedom of speech.1 "

"What do we do if someone causes a disruption at an event in the library?

Expectations of behavior should be made clear before the event. If people violate acceptable behavior guidelines, they should be
asked to cease that behavior or leave the library. If people fail to comply, the library should follow its appropriate behavior policy.

       Library administrators should ensure that the library has written policies that address disruptive behavior, including any
       protest inside the library that interferes with patrons’ quiet use and enjoyment of the library. Public libraries are not public
       squares and may restrict disruptive behaviors. Similarly, publicly funded school and academic libraries that open their
       facilities for use by the public should have written policies that address disruptive behavior, including any protest inside
       the library that interferes with patrons’ quiet use and enjoyment of the library. Publicly funded school and
       academic libraries that open their facilities for use by the public are considered to be a designated public forum. Strict
       scrutiny will apply to any restrictions placed on access.
       Library administrators should communicate with leaders of the protest groups, and maintain an open line of communication
       with them. Ask the group leader to establish a tone of respect and civil discourse during the program. Inform them
       that libraries are not required to allow protests inside the library. People have a constitutional right to protest on the public
       sidewalk and other public spaces not controlled by the library. Remind group leaders to consult with local government
       regarding the permitting process for any organized protest/demonstration."



In closing I would like to set the record straight regarding my personal reasons for organizing this screening
and promoting this film. Please understand I and my fellow event coordinators are not coming from a place
of exclusion, hate, "transphobia" or bigotry. Quite the opposite. We are trying to sound the alarm so that our
most vulnerable populations are not taken advantage of by medical profiteers. This is very personal for me.
My own sibling came out to me as having been “born in the wrong body” as an adult. At the time I affirmed
their identity and did all of the things we are told we must do to help prevent suicide. Now, 13 years later,
my sibling has had every “gender affirming” surgery available and is still profoundly mentally and physically
unwell. Because doctors have removed their primary sex organ responsible for generating hormones, they
will be forevermore on Big Pharma’s leash, dependent upon them and insurance companies to provide the
synthetic hormones they need to live. This is only one of the many health complications my sibling faces as a
result of these so-called “treatments”. They are not alone. There are over 45,000 detransitioners speaking
out about the grave harms done to them by the medical industry and those promoting the "affirmation only"
model.

"Affirmation Generation" features six detranstioners, 12 experts, and cites 45 peer-reviewed medical papers.
It is a thoughtful and compassionate film which explains the harm being done by our current approach and
shows that children who are suffering do not need radical, experimental, irreversible drug treatments and
barbaric surgical alterations. They need compassionate mental health care that helps them learn to love
themselves so we may truly "protect trans kids". Please keep an open mind and watch this film. I have
included a link here:
https://vimeo.com/800032857

I look forward to your reply. I hope it will include a commitment to take positive action moving forward to
help avoid such attempts to stifle free speech and civil discourse as those perpetrated by Ms. Jorjorian.
Thank you for your time.
[THIS EMAIL ORIGINATED FROM OUTSIDE YOLO COUNTY. PLEASE USE CAUTION AND VALIDATE THE AUTHENTICITY OF THE EMAIL
PRIOR TO CLICKING ANY LINKS OR PROVIDING ANY INFORMATION. IF YOU ARE UNSURE, PLEASE CONTACT THE HELPDESK (x5000)
FOR ASSISTANCE]




                                                                                                            Exhibit I, Page 8
